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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS


 Space Exploration Technologies Corp.,

           Plaintiff,

                   v.
                                                             Civil Action No. 1:23-cv-00137
 Carol Bell, in her official capacity as
 Administrative Law Judge of the Office of
 the Chief Administrative Hearing Officer,
 et. al.,

           Defendants.


                         UNOPPOSED MOTION TO STAY CASE FOR 45 DAYS

          Defendants respectfully request that the Court stay this case. Plaintiffs do not oppose this

request.

          On November 8, 2023, this Court issued a preliminary injunction order staying the

administrative proceeding, United States v. Space Exploration Techs. Corp., No. 2023B00082

(OCAHO filed Aug. 23, 2023), that Plaintiff is challenging in this case. See First Am. Compl. ¶ 2,

ECF No. 31; Order at 9 (Nov. 8, 2023), ECF No. 28. Since then, the parties have filed cross-

motions for summary judgment, which are currently pending before the Court. ECF Nos. 35, 36,

45, 46.

          The Department of Justice is currently exploring actions that could resolve this case.

Accordingly, Defendants respectfully request that the Court stay this case for 45 days to allow

Defendants to explore whether such actions are possible.




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Dated: January 19, 2025                    Respectfully submitted,

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